            Case 2:12-cv-05806-PBT Document 55 Filed 11/22/13 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BIG 3 PACKAGING, LLC,                             :
                Plaintiffs,                        :
                                                   :
                 v.                                :              CIVIL ACTION
                                                   :
                                                   :              NO. 12-5806
 AQUA CHEMPACS, LLC, ET AL.,                       :
              Defendants.                          :
                                                   :
                                                   :
                                                   :
                                                ORDER


        AND NOW, this ____ day of November, 2013, the Court having been advised that the

parties in the above-captioned case have reached settlement, IT IS HEREBY ORDERED AND

DECREED that all claims, counter-claims, and all causes of action asserted or which could have

been have been asserted between the parties in this suit are DISMISSED WITH PREJUDICE and

without costs, pursuant to the agreement of counsel and Local Rule 41.1(b).1

        IT IS FURTHER ORDERED that the Clerk of Court shall designate this case CLOSED.



                                                         BY THE COURT:

                                                         /s/ Petrese B. Tucker
                                                         _______________________________
                                                         Hon. Petrese B. Tucker, C.J.




        1
          Local Rule 41.1(b) states that whenever in any civil action counsel shall notify the Clerk or the
judge to whom the action is assigned that the issue between the parties have been settled, the Clerk shall,
upon order of the judge to whom the case is assigned, enter an order dismissing the action with prejudice,
without costs, pursuant to the agreement of counsel.
